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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


  JUUL LABS, INC.,                                          Civil Action No. 19-8405 (JMV) (MF)

                          Plaintiff,


  v.                                                          ORDER GRANTING JUUL LABS,
                                                                INC.’S MOTION TO SEAL
  EONSMOKE, LLC,
  ZLAB S.A.,
  ZIIP LAB CO., LTD.,                                            Document Filed Electronically
  SHENZHEN YIBO TECHNOLOGY CO.,
  LTD., and
  JOHN DOES 1-50,

                          Defendants.


           THIS MATTER having been brought before the Court upon the Motion of Juul Labs,

 Inc. (“Juul Labs”), pursuant to Local Civil Rule 5.3(c), to permanently seal portions of the

 following documents:

          Declaration of Timothy Danaher (ECF No. 11);

          Exhibit 1 to the Declaration of Timothy Danaher (ECF No. 11-1);

          Declaration of Michael Walter (ECF No. 11-2);

          Exhibit 1 to the Declaration of Michael Walter (ECF No. 11-3); and

          Exhibit 2 to the Declaration of Michael Walter (ECF No. 11-4)

 which were filed under temporary seal1 (“the Confidential Information”); and Juul Labs having

 reported to the Court that Defendants consent to entry of the within Order; and the Court having




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           The unredacted versions of these documents were filed under seal at ECF No. 11. The
 redacted versions of these documents were filed at ECF No. 12.

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 found that the standards of Local Civil Rule 5.3(c)(3) have been met and support the sealing of

 the Confidential Information as set forth below; and for the reasons set forth in the record of the

 proceedings, and for other good cause having been shown;

         The Court adopts the following Findings of Fact and Conclusions of Law:

 I.      THE NATURE OF THE MATERIALS OR PROCEEDINGS AT ISSUE

         A.      Findings of Fact

      1. Juul Labs seeks to permanently seal its Confidential Information.

      2. Local Civil Rule 5.3(c) requires the moving party to show:

              a. the nature of the materials or proceedings at issue;

              b. the legitimate private or public interests which warrant the relief sought;

              c. the clearly defined and serious injury that would result if the relief sought is not

                 granted; and

              d. why a less restrictive alternative to the relief sought is not available.

      3. The Confidential Information discloses and refers to sensitive internal business, research

 and development, and market position information.

         B.      Conclusions of Law

      4. Common law recognizes a public right of access to judicial proceedings and records.

 Goldstein v. Forbes (In re Cendant Corp.), 260 F.3d 183, 192 (3d Cir. 2001) (citing Littlejohn v.

 BIC Corp., 851 F.2d 673, 677-78 (3d Cir. 1988)). The party seeking to seal any part of a judicial

 record bears the burden of demonstrating that “the material is the kind of information that courts

 will protect.” Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (quoting Publicker

 Indus., Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)).




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       5. This Court has the power to seal where confidential information may be disclosed to the

 public. Fed. R. Civ. P. 26(c)(1)(G) allows the court to protect materials containing “trade

 secret[s] or other confidential research, development, or commercial information[,]” upon

 motion by a party, to prevent harm to a litigant’s competitive standing in the marketplace. See

 Zenith Radio Corp. v. Matsushita Elec. Indus. Co., Ltd., 529 F. Supp. 866, 889-91 (E.D. Pa.

 1981).

 II.      THE LEGITIMATE PRIVATE OR PUBLIC INTEREST
          THAT WARRANTS THE RELIEF SOUGHT

          A.      Findings of Fact

       6. The Confidential Information sought to be sealed consists of information that Juul Labs

 asserts is confidential and proprietary.

       7. Juul Labs has an interest in not publicly disclosing this information, and relies on such

 information to gain a competitive advantage in the e-cigarette industry.

          B.      Conclusions of Law

       8. Courts have recognized that the presumption of public access is not absolute and may be

 rebutted. Republic of the Philippines v. Westinghouse Elec. Corp., 949 F.2d 653, 662 (3d Cir.

 1991). “Every court has supervisory power over its own records and files, and access has been

 denied where court files might have become a vehicle for improper purposes.” Littlejohn, 851

 F.2d at 678 (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)).

       9. Courts may deny access to and seal a document when it encompasses business

 information that might harm a litigant’s competitive standing. See Littlejohn, 851 F.2d at 678

 (citations omitted).

       10. The District of New Jersey has held that the inclusion of trade secrets and other

 confidential information in documents warrant the sealing of such documents. “A well-settled

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 exception to the right of access is the ‘protection of a party’s interest in confidential commercial

 information, such as a trade secret, where there is a sufficient threat of irreparable harm.’” In re

 Gabapentin Patent Litig., 312 F. Supp. 2d 653, 664 (D.N.J. 2004) (citation omitted). “The

 presence of trade secrets or other confidential information weighs against public access and,

 accordingly, documents containing such information may be protected from disclosure.” Id.

 (citations omitted).

 III.      CLEARLY DEFINED AND SERIOUS INJURY WOULD
           RESULT IF THE RELIEF SOUGHT IS NOT GRANTED

           A.      Findings of Fact

        11. As it consists of non-public trade secrets that are otherwise unavailable to third parties,

 the public disclosure of the Confidential Information would pose a substantial risk of harm to

 Juul Labs’ legitimate proprietary interests and competitive positions.

        12. If the Confidential Information were to become publicly available, Juul Labs’

 competitors could potentially use that information in the highly competitive e-cigarette industry.

           B.      Conclusions of Law

        13. The District Court has discretion to balance the factors for and against access to court

 documents. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 781 (3d Cir. 1994).

        14. If the Confidential Information were to become publicly available, Juul Labs’

 competitors could potentially use that information in the highly competitive e-cigarette industry.

        15. Protection of a party’s interest in confidential commercial information, such as a trade

 secret, is a sufficient threat of irreparable harm, and is clearly defined as a serious injury. See

 Publicker, 733 F.2d at 1071.




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 IV.      NO LESS RESTRICTIVE ALTERNATIVE IS AVAILABLE

          A.      Findings of Fact

       16. Once confidential information is disclosed to the public, it can never again be sealed or

 maintained as private. The request to seal the Confidential Information is tailored to restrict

 access only to Juul Labs’ confidential and proprietary non-public information.

       17. The disclosure of this confidential, proprietary information would pose a financial and

 competitive risk to Juul Labs. Accordingly, the only way to protect Juul Labs’ confidential

 interests is to seal the Confidential Information.

       18. Only those portions of the Declaration of Timothy Danaher, Exhibit 1 to the Declaration

 of Timothy Danaher, portions of the Declaration of Michael Walter, Exhibit 1 to the Declaration

 of Michael Walter, and Exhibit 2 to the Declaration of Michael Walter containing confidential

 and proprietary information will be sealed.

       19. Redacted versions of the foregoing documents have been filed on the Docket at ECF No.

 12.

          B.      Conclusions of Law

       20. The sealing of confidential documents and information is an accepted practice in the

 District of New Jersey. See, e.g., In re Gabapentin Patent Litig., 312 F. Supp. 2d 653 (D.N.J.

 2004).

       21. For all the above reasons, and because Juul Labs’ interests in its Confidential Information

 identified herein outweigh the minimal, if any, public interest in its disclosure, there is good

 cause to grant the instant Motion to Seal with respect to Juul Labs’ Confidential Information

 identified below.




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        THEREFORE, for the above reasons, it is on this ________ day of ___________, 2019,

        ORDERED that Juul Labs’ unopposed Motion, pursuant to Local Civil Rule 5.3(c), to

 permanently seal portions of the Declaration of Timothy Danaher, Exhibit 1 to the Declaration of

 Timothy Danaher, portions of the Declaration of Michael Walter, Exhibit 1 to the Declaration of

 Michael Walter, and Exhibit 2 to the Declaration of Michael Walter, which were filed under

 temporary seal, be and is hereby GRANTED; and it is further

        ORDERED that the Declaration of Timothy Danaher, Exhibit 1 to the Declaration of

 Timothy Danaher, the Declaration of Michael Walter, Exhibit 1 to the Declaration of Michael

 Walter, and Exhibit 2 to the Declaration of Michael Walter, which were filed under temporary

 seal at ECF No. 11 and the redacted versions of which have been filed on the docket at ECF No.

 12, shall be permanently sealed and maintained under seal by the Court.



                                                    __________________________
                                                    HONORABLE MARK FALK
                                                    UNITED STATED MAGISTRATE JUDGE




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